Case: 1:14-cv-09042 Document #: 302-3 Filed: 02/10/18 Page 1 of 19 PageID #:6238




                       Exhibit 2
    Case: 1:14-cv-09042 Document #: 302-3 Filed: 02/10/18 Page 2 of 19 PageID #:6239




Confidential - Subject to Protective Order Entered in 14 C 9042    CITY-BG-022791
    Case: 1:14-cv-09042 Document #: 302-3 Filed: 02/10/18 Page 3 of 19 PageID #:6240




Confidential - Subject to Protective Order Entered in 14 C 9042    CITY-BG-022792
    Case: 1:14-cv-09042 Document #: 302-3 Filed: 02/10/18 Page 4 of 19 PageID #:6241




Confidential - Subject to Protective Order Entered in 14 C 9042    CITY-BG-022793
    Case: 1:14-cv-09042 Document #: 302-3 Filed: 02/10/18 Page 5 of 19 PageID #:6242




Confidential - Subject to Protective Order Entered in 14 C 9042    CITY-BG-022794
    Case: 1:14-cv-09042 Document #: 302-3 Filed: 02/10/18 Page 6 of 19 PageID #:6243




Confidential - Subject to Protective Order Entered in 14 C 9042    CITY-BG-022795
    Case: 1:14-cv-09042 Document #: 302-3 Filed: 02/10/18 Page 7 of 19 PageID #:6244




Confidential - Subject to Protective Order Entered in 14 C 9042    CITY-BG-022796
    Case: 1:14-cv-09042 Document #: 302-3 Filed: 02/10/18 Page 8 of 19 PageID #:6245




Confidential - Subject to Protective Order Entered in 14 C 9042    CITY-BG-022797
    Case: 1:14-cv-09042 Document #: 302-3 Filed: 02/10/18 Page 9 of 19 PageID #:6246




Confidential - Subject to Protective Order Entered in 14 C 9042    CITY-BG-022798
    Case: 1:14-cv-09042 Document #: 302-3 Filed: 02/10/18 Page 10 of 19 PageID #:6247




Confidential - Subject to Protective Order Entered in 14 C 9042    CITY-BG-022799
    Case: 1:14-cv-09042 Document #: 302-3 Filed: 02/10/18 Page 11 of 19 PageID #:6248




Confidential - Subject to Protective Order Entered in 14 C 9042    CITY-BG-022800
    Case: 1:14-cv-09042 Document #: 302-3 Filed: 02/10/18 Page 12 of 19 PageID #:6249




Confidential - Subject to Protective Order Entered in 14 C 9042    CITY-BG-022801
    Case: 1:14-cv-09042 Document #: 302-3 Filed: 02/10/18 Page 13 of 19 PageID #:6250




Confidential - Subject to Protective Order Entered in 14 C 9042    CITY-BG-022802
    Case: 1:14-cv-09042 Document #: 302-3 Filed: 02/10/18 Page 14 of 19 PageID #:6251




Confidential - Subject to Protective Order Entered in 14 C 9042    CITY-BG-022803
    Case: 1:14-cv-09042 Document #: 302-3 Filed: 02/10/18 Page 15 of 19 PageID #:6252




Confidential - Subject to Protective Order Entered in 14 C 9042    CITY-BG-022804
    Case: 1:14-cv-09042 Document #: 302-3 Filed: 02/10/18 Page 16 of 19 PageID #:6253




Confidential - Subject to Protective Order Entered in 14 C 9042    CITY-BG-022805
    Case: 1:14-cv-09042 Document #: 302-3 Filed: 02/10/18 Page 17 of 19 PageID #:6254




Confidential - Subject to Protective Order Entered in 14 C 9042    CITY-BG-022806
    Case: 1:14-cv-09042 Document #: 302-3 Filed: 02/10/18 Page 18 of 19 PageID #:6255




Confidential - Subject to Protective Order Entered in 14 C 9042    CITY-BG-022807
    Case: 1:14-cv-09042 Document #: 302-3 Filed: 02/10/18 Page 19 of 19 PageID #:6256




Confidential - Subject to Protective Order Entered in 14 C 9042    CITY-BG-022808
